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                     Eastern District of Kentucky
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 Fill in this information to identify the case:

 Debtor name            INMET Mining, LLC

 United States Bankruptcy Court for the:                      Eastern District of Kentucky

 Case number (if known)              23-70113-grs
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $       54,500,000.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $       10,031,846.16

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $       64,531,846.16


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $     110,918,324.64


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        3,582,206.68

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       22,134,947.68


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $        136,635,479.00




 Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                  page 1
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the: Eastern District of Kentucky

 Case number (if known)         23-70113-grs
                                                                                                                                       Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                      12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

          No. Go to Part 2.
          Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                       debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number


           3.1.     Pinnacle Bank                                           Other financial account         0008                                    $75,164.48




           3.2.     Pinnacle Bank                                           Checking                        5404                                $3,197,718.97



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.
                                                                                                                                            $3,272,883.45
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.

 7.        Deposits, including security deposits and utility deposits
           Description, including name of holder of deposit


           7.1.     Waste Connections of Kentucky                                                                                                   $10,000.00




           7.2.     Cumberland Valley Electric                                                                                                    $106,000.00

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                            page 1
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 Debtor           INMET Mining, LLC                                                           Case number (If known) 23-70113-grs
                  Name




           7.3.     Kentucky Utilities                                                                                                $1,062,122.71




           7.4.     Phillips Global                                                                                                       $50,000.00



                    GMS Mine Repair & Maintenance, Inc.
           7.5.     deposit for work to address safety and other issues                                                                   $75,840.00



 8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
           Description, including name of holder of prepayment

 9.        Total of Part 2.
                                                                                                                                    $1,303,962.71
           Add lines 7 through 8. Copy the total to line 81.

 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.


 Part 4:          Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                       Date of the last         Net book value of      Valuation method used    Current value of
                                                     physical inventory       debtor's interest      for current value        debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Raw coal                                                                         $0.00                                       $450,000.00



 20.       Work in progress

 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies

 23.       Total of Part 5.
                                                                                                                                     $450,000.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 2
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 Debtor         INMET Mining, LLC                                                                Case number (If known) 23-70113-grs
                Name

               No
               Yes. Book value                                       Valuation method                       Current Value

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
             No
             Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
                                                                                 debtor's interest      for current value        debtor's interest
                                                                                 (Where available)

 39.       Office furniture
           Small office, minimal furniture and other items                                     $0.00                                         $5,000.00



 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software

 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                 $5,000.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.

           General description                                                   Net book value of      Valuation method used    Current value of
           Include year, make, model, and identification numbers                 debtor's interest      for current value        debtor's interest
           (i.e., VIN, HIN, or N-number)                                         (Where available)

 47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles


 48.       Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
           floating homes, personal watercraft, and fishing vessels

 49.       Aircraft and accessories


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                    page 3
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                Name



 50.       Other machinery, fixtures, and equipment (excluding farm
           machinery and equipment)
           See attached Fixed Assets Inventory List,
           including cost basis, depreciation, and net
           book value. No appraisals, etc. completed;
           listed Current Value is Cost Basis (excludes
           items 1-9 as are buildings).                                           $51,974,973.50                                      $5,000,000.00



 51.       Total of Part 8.
                                                                                                                                    $5,000,000.00
           Add lines 47 through 50. Copy the total to line 87.

 52.       Is a depreciation schedule available for any of the property listed in Part 8?
               No
               Yes

 53.       Has any of the property listed in Part 8 been appraised by a professional within the last year?
             No
             Yes

 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.

 55.       Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

           Description and location of                    Nature and          Net book value of      Valuation method used   Current value of
           property                                       extent of           debtor's interest      for current value       debtor's interest
           Include street address or other                debtor's interest   (Where available)
           description such as Assessor                   in property
           Parcel Number (APN), and type
           of property (for example,
           acreage, factory, warehouse,
           apartment or office building, if
           available.
           55.1.

                     ACIN LLC Lease                       Coal Seams                        $0.00    FIFO                                         $0.00


           55.2.

                     Eversole Lease                       Wheelage                          $0.00    FIFO                                         $0.00


           55.3.

                     Wax Lease                            Coal Seams                        $0.00    FIFO                                         $0.00


           55.4.

                     Penn Virginia Lease                  Coal Seams                        $0.00    FIFO                                         $0.00


           55.5.
                                                          Sale
                     Penn Virginia                        Lease-Back                   Unknown                                        $3,500,000.00




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                   page 4
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                Name

            55.6.

                     Penn Virginia                        Plant Lease                       $0.00                                                $0.00


            55.7.    "Owned Real
                     Property" as set forth
                     in Exhibit B of the
                     Sale Order in In re
                     Blackjewel,
                     19-bl-30289 (WVSB),
                     Docket No. 1096, in
                     Kentucky and
                     Virginia.                                                         Unknown                                        $1,000,000.00


            55.8.    Cave Branch Plant
                     and Lone Mountain
                     Plant                                                             Unknown                                      $50,000,000.00



 56.        Total of Part 9.
                                                                                                                                   $54,500,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
                No
                Yes

 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
              No
              Yes

 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                  page 5
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 Debtor          INMET Mining, LLC                                                                                  Case number (If known) 23-70113-grs
                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                     Current value of real
                                                                                                    personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                       $3,272,883.45

 81. Deposits and prepayments. Copy line 9, Part 2.                                                            $1,303,962.71

 82. Accounts receivable. Copy line 12, Part 3.                                                                             $0.00

 83. Investments. Copy line 17, Part 4.                                                                                     $0.00

 84. Inventory. Copy line 23, Part 5.                                                                             $450,000.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                              $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                           $5,000.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                 $5,000,000.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                     $54,500,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                          $0.00

 90. All other assets. Copy line 78, Part 11.                                                   +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                       $10,031,846.16             + 91b.           $54,500,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $64,531,846.16




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                             page 6
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the:
                                                    Eastern District of Kentucky

 Case number (if known)             23-70113-grs
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
           No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       ACIN LLC/ Natural
 2.1
       Resource Partners                             Describe debtor's property that is subject to a lien                $1,715,402.04                       $0.00
       Creditor's Name                               UCC, financing, and/or fixture filings in VA
                                                     and KY


       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




       Black Mountain Marketing
 2.2
       and Sales                                     Describe debtor's property that is subject to a lien             $104,443,360.34            $56,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
                                                     listed Current Value is Cost Basis (excludes
                                                     items 1-9 as are buildings).; "Owned Real
                                                     Property" as set forth in Exhibit B of the Sale
                                                     Order in In re Blackjewel, 19-bl-30289
                                                     (WVSB), Docket No. 1096, in Kentucky and
       425 Houston Street, Suite                     Virginia.; Cave Branch Plant and Lone
       400                                           Mountain Plant
       Fort Worth, TX 76102
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No


Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 3
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              Name

                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       1. Blue Tarpon Capital, LLC
       2. Caterpillar Finance
       3. Black Mountain
       Marketing and Sales

 2.3   Blue Tarpon Capital, LLC                      Describe debtor's property that is subject to a lien                       $116,150.03       $5,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
       1415 Louisiana Street                         listed Current Value is Cost Basis (excludes
       Suite 2400                                    items 1-9 as are buildings).
       Houston, TX 77002
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.8

 2.4   Caterpillar Finance                           Describe debtor's property that is subject to a lien                   $1,643,412.23         $5,000,000.00
       Creditor's Name                               See attached Fixed Assets Inventory List,
                                                     including cost basis, depreciation, and net
                                                     book value. No appraisals, etc. completed;
                                                     listed Current Value is Cost Basis (excludes
       2120 West End Avenue                          items 1-9 as are buildings).
       Nashville, TN 37203
       Creditor's mailing address                    Describe the lien

                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.
       Specified on line 2.8

       Penn Virginia Operating
 2.5
       Co., LLC                                      Describe debtor's property that is subject to a lien                   $3,000,000.00                  $0.00
Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 2 of 3
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              Name

       Creditor's Name                               Sale-lease back of plant
       Seven Sheridan Square
       Suite 400
       Kingsport, TN 37660
       Creditor's mailing address                    Describe the lien
                                                     Purchase Money Security
                                                     Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                Yes
                                                     Is anyone else liable on this claim?
       Date debt was incurred                            No
       2019                                              Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                 As of the petition filing date, the claim is:
       interest in the same property?                Check all that apply
           No                                           Contingent
           Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative         Disputed
       priority.




                                                                                                                             $110,918,324
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                       .64

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you   Last 4 digits of
                                                                                                               enter the related creditor?       account number for
                                                                                                                                                 this entity
        Caterpillar Finance
        PO Box 730681                                                                                           Line   2.4
        Dallas, TX 75373




Official Form 206D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                        page 3 of 3
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the:            Eastern District of Kentucky

 Case number (if known)           23-70113-grs
                                                                                                                                                 Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).
             No. Go to Part 2.
             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                    $382,513.50           $382,513.50
           Employees                                                 Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (4)                       Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                  $3,199,693.18           Unknown
           Kentucky Department of Revenue                            Check all that apply.
                                                                        Contingent
           Frankfort, KY 40619-0001
                                                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes


 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                               $0.00      $0.00
           Virginia DMME                                             Check all that apply.
                                                                        Contingent
           3405 Mountain Empire Road
                                                                        Unliquidated
           Big Stone Gap, VA 24219
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:


           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                           No
           unsecured claim: 11 U.S.C. § 507(a) (8)                       Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                     page 1 of 13
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          out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim


 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Access Cable Television, Inc.
                                                                                Contingent
          302 Enterprise Drive                                                  Unliquidated
          Somerset, KY 42501                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Action Auto Supply
                                                                                Contingent
          6298 Highway 15                                                       Unliquidated
          Whitesburg, KY 41858                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          Alliance Service, Inc.                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes


 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          American Mine Power, Inc.
                                                                                Contingent
          PO Box 1602                                                           Unliquidated
          Crab Orchard, WV 25827                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                     $0.00
          ARAMARK
                                                                                Contingent
          PO Box 731676                                                         Unliquidated
          Dallas, TX 75373                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $269,423.38
          BCBS of Tennessee
          Group Receipts Department
                                                                                Contingent
          PO Box 6539                                                           Unliquidated
          Carol Stream, IL 60197-6539                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $15,805,502.00
          Blackjewel Liquidation Trust
          c/o David J. Beckman, Trustee
                                                                                Contingent
          999 17th Street, Suite 700                                            Unliquidated
          Denver, CO 80202                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 2 of 13
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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blair Tire Sales
                                                                                Contingent
          3309 Temple Hill Road                                                 Unliquidated
          Erwin, TN 37650                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Blossman Companies, Inc.
                                                                                Contingent
          PO Drawer 1110                                                        Unliquidated
          Ocean Springs, MS 39566-1110                                          Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $62,833.32
          Blue Tarpon Capital, LLC
          1415 Louisiana Street
                                                                                Contingent
          Suite 2400                                                            Unliquidated
          Houston, TX 77002                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Boyd Cat
                                                                                Contingent
          2200 South Kentucky Avenue                                            Unliquidated
          Corbin, KY 40701                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brandeis
                                                                                Contingent
          Department 80013                                                      Unliquidated
          Carol Stream, IL 60122-8013                                           Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          BreakThru Construction Co., Inc.
                                                                                Contingent
          PO Box 108                                                            Unliquidated
          Appalachia, VA 24216                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brian's Battery Service
                                                                                Contingent
          PO Box 963                                                            Unliquidated
          Harlan, KY 40831                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Brooks Tire Service
                                                                                Contingent
          PO Box 96                                                             Unliquidated
          Fourmile, KY 40939                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Buchanan Pump Serivce
                                                                                Contingent
          PO Box 827                                                            Unliquidated
          Pound, VA 24279                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Byron's Printing, Inc.
                                                                                Contingent
          4430 Singleton Station Road                                           Unliquidated
          Louisville, TN 37777                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carroll Engineering Co.
                                                                                Contingent
          PO Box 741245                                                         Unliquidated
          Atlanta, GA 30384-1245                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Carter Machine Company, Inc.
                                                                                Contingent
          PO Box 751053                                                         Unliquidated
          Charlotte, NC 28275-1053                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Chubb
                                                                                Contingent
          PO Box 382001                                                         Unliquidated
          Pittsburgh, PA 15250-8001                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $325,000.00
          Combs Equipment Group, LLC
                                                                                Contingent
          PO Box 573                                                            Unliquidated
          Pineville, KY 40977                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Conn-Weld Industries, Inc.
                                                                                Contingent
          PO Box 5329                                                           Unliquidated
          Princeton, WV 24740-5329                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          CS&C
                                                                                Contingent
          PO Box 4003                                                           Unliquidated
          Pikeville, KY 41502                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Cumberland Mine Service, Inc.
                                                                                Contingent
          PO Box 394                                                            Unliquidated
          Cumberland, KY 40823                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,517,407.96
          Cumberland Surety, Inc.
                                                                                Contingent
          200 N. Upper Street                                                   Unliquidated
          Lexington, KY 40507                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Damon Williams Trucking, Inc.
                                                                                Contingent
          PO Box 518                                                            Unliquidated
          Grays Knob, KY 40829                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dean Knuckles Enterprises, Inc.
                                                                                Contingent
          PO Box 532                                                            Unliquidated
          Pineville, KY 40977                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Double R Trucking Company, Inc.
                                                                                Contingent
          10136 Jefferson Road                                                  Unliquidated
          Coeburn, VA 24230                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dr. Abdul Kader Dahhan MD PSC
          120 Professional Lane
                                                                                Contingent
          Suite 101                                                             Unliquidated
          Harlan, KY 40831                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Dynatech Electronics, Inc.
                                                                                Contingent
          PO Box 884                                                            Unliquidated
          Harlan, KY 40831                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          EZ Haul, Inc.
                                                                                Contingent
          8133 US HWY 23 South                                                  Unliquidated
          Pikeville, KY 41501                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GardaWorld Security Services
                                                                                Contingent
          PO Box 843886                                                         Unliquidated
          Kansas City, MO 64184                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          General Engineering Company
                                                                                Contingent
          26485 Hillman HWY                                                     Unliquidated
          Abingdon, VA 24212                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Gibson Welding & Machinery Inc.
                                                                                Contingent
          7936 Carter Branch Road                                               Unliquidated
          Wise, VA 24293                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          GMS Mine Repair & Maintenance
                                                                                Contingent
          32 Enterprise Drive                                                   Unliquidated
          Oakland, MD 21550                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,000.00
          Harlan Countians for Progress
          200 Waldon Road
                                                                                Contingent
          Suite 100                                                             Unliquidated
          Harlan, KY 40831                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim: Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holden Machine & Fabrication, Inc.
                                                                                Contingent
          PO Box 678                                                            Unliquidated
          Holden, WV 25625                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holland & Knight
                                                                                Contingent
          10 St. James Ave.                                                     Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Holston Gases
                                                                                Contingent
          1854 N Hwy 25 W                                                       Unliquidated
          Williamsburg, KY 40769                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Hydra Power
                                                                                Contingent
          PO Box 539                                                            Unliquidated
          Tazewell, VA 24651                                                    Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Innovative Wireless Technologies, Inc.
                                                                                Contingent
          1100 Main Street                                                      Unliquidated
          Lynchburg, VA 24504                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jennmar Corp. of VA, Inc.
                                                                                Contingent
          PO Box 640339                                                         Unliquidated
          Pittsburgh, PA 15264-0339                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Jones Oil Company, Inc.
                                                                                Contingent
          PO Box 3427                                                           Unliquidated
          Pikeville, KY 41502                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          JOY GLOBAL
          Mining Machinery Division
                                                                                Contingent
          PO Box 504794                                                         Unliquidated
          Saint Louis, MO 63150-4797                                            Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kanawha Scales and Systems Inc.
                                                                                Contingent
          PO box 569                                                            Unliquidated
          Poca, WV 25159                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Kentucky Mine Supply Company
                                                                                Contingent
          PO Box 779                                                            Unliquidated
          Harlan, KY 40831                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,211,226.59
          Kentucky Utilities Co.                                                Contingent
                                                                                Unliquidated
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?      No         Yes




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 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          KJ Trucking & Rock Dust
                                                                                Contingent
          2901 HWY 186                                                          Unliquidated
          Middlesboro, KY 40965                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,651.89
          Kopper Glo Mining
                                                                                Contingent
          144 E Market Place Blvd                                               Unliquidated
          Knoxville, TN 37922                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Lawson Products, Inc.
          8770 West Bryn Mawer Ave
                                                                                Contingent
          Suite 900                                                             Unliquidated
          Chicago, IL 60631                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          LM Wright Trucking, Inc.
                                                                                Contingent
          PO Box 159                                                            Unliquidated
          Isom, KY 41824                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maggard Sales and Service
                                                                                Contingent
          7915 South Fork Road                                                  Unliquidated
          Pound, VA 24279                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Maria Trucking Co., Inc.
                                                                                Contingent
          2858 Rose Ridge                                                       Unliquidated
          Clintwood, VA 24228                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McClung Logan Equipment Co., Inc.
                                                                                Contingent
          PO Box 1158                                                           Unliquidated
          Wise, VA 24293                                                        Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McDowell Gear and Machine LLC
                                                                                Contingent
          PO Box 1587                                                           Unliquidated
          New Tazewell, TN 37824                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          McMaster-Carr
                                                                                Contingent
          PO Box 7690                                                           Unliquidated
          Chicago, IL 60680-7690                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          MetLife
                                                                                Contingent
          PO Box 783895                                                         Unliquidated
          Philadelphia, PA 19178                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mine Service Company
          Hwy 15 South
                                                                                Contingent
          PO Box 858                                                            Unliquidated
          Hazard, KY 41702                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Mountain Construction Co.
                                                                                Contingent
          PO Box 269                                                            Unliquidated
          Grays Knob, KY 40829                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $168,941.62
          NewBridge Services, Inc.
                                                                                Contingent
          200 N. Upper Street                                                   Unliquidated
          Lexington, KY 40507                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $149,280.50
          Obadiah Contracting & Excavation, LLC
                                                                                Contingent
          459 Raleigh Drive                                                     Unliquidated
          Partridge, KY 40862                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phillip S Hall Company, LLC
                                                                                Contingent
          1555 Right Fork Maces Creek Road                                      Unliquidated
          Viper, KY 41774                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $582,935.14
          Phillips Global, Inc.
                                                                                Contingent
          367 George Street                                                     Unliquidated
          Beckley, WV 25801                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Phoenix First Response
                                                                                Contingent
          25 Allegheny Square                                                   Unliquidated
          Glassport, PA 15045                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Pinnacle Bank
                                                                                Contingent
          1111 Northshore Drive                                                 Unliquidated
          Knoxville, TN 37919                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Credit card purchases
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $844,195.28
          Pinnacle Bank
                                                                                Contingent
          1111 Northshore Drive                                                 Unliquidated
          Knoxville, TN 37919                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Paycheck Protection Program
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          QUALITY MAGNETITE, LLC
                                                                                Contingent
          PO BOx 671413                                                         Unliquidated
          Dallas, TX 75267-1413                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Richwood Industries, Inc.
          707 7th Street West
                                                                                Contingent
          PO Box 1298                                                           Unliquidated
          Huntington, WV 25714-1298                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Ronald Bailey DBA Ron Bailey Trucking
                                                                                Contingent
          PO Box 310                                                            Unliquidated
          Dryden, VA 24243                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          S & S Service Inc.
                                                                                Contingent
          PO Box R                                                              Unliquidated
          Cumberland, KY 40823                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          S.E.P.T.I.C., Inc.
                                                                                Contingent
          4404 Greenbrier Road                                                  Unliquidated
          Haysi, VA 24256                                                       Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Sandvik Mining and Construction USA, LLC
          Company Code 4684
                                                                                Contingent
          Dept CH-10576                                                         Unliquidated
          Palatine, IL 60055-0576                                               Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Schanabel Engineering, LLC
          9800 JEB Stuart Pkwy
                                                                                Contingent
          Suite 200                                                             Unliquidated
          Glen Allen, VA 23059                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          SGS North America Inc.
                                                                                Contingent
          248 Harrogate Industrial Drive                                        Unliquidated
          Harrogate, TN 37752                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,550.00
          Shaw Heavy Equipment
                                                                                Contingent
          404 East Fourth Street                                                Unliquidated
          Sparta, IL 62286                                                      Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Stahura Conveyor Products, Inc.
          PO Box 250
                                                                                Contingent
          465 Williams Road                                                     Unliquidated
          Lewisville, NC 27023                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Strata Safety Products, LLC
          8995 Rosewell Road
                                                                                Contingent
          Suite 200                                                             Unliquidated
          Atlanta, GA 30350                                                     Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Terraces Office Park, LLC
                                                                                Contingent
          8858 Cedar Springs Lane                                               Unliquidated
          Knoxville, TN 37923                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim: Rent
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes




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 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Timberline Barns, LLC
                                                                                Contingent
          21680 Wilderness Road                                                 Unliquidated
          Rose Hill, VA 24281                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Central Industrial Supply Co, LLC
                                                                                Contingent
          PO Box 743849                                                         Unliquidated
          Atlanta, GA 30374-3849                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          United Industrial Services, Inc.
          PO Box D
                                                                                Contingent
          101 Spruce Street                                                     Unliquidated
          Rich Creek, VA 24147                                                  Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Valley Mine Service, Inc.
                                                                                Contingent
          PO Box 57                                                             Unliquidated
          Speedwell, TN 37870                                                   Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Verizon
                                                                                Contingent
          PO box 15124                                                          Unliquidated
          Albany, NY 12212-5124                                                 Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Windstream
                                                                                Contingent
          PO Box 9001908                                                        Unliquidated
          Louisville, KY 40290-1908                                             Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Woodway Stone Company
                                                                                Contingent
          PO Box 307                                                            Unliquidated
          Pennington Gap, VA 24277                                              Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Worldwide Equipment Inc.
          c/o ProBilling & funding Service
                                                                                Contingent
          PO Box 2222                                                           Unliquidated
          Decatur, AL 35609-2222                                                Disputed
          Date(s) debt was incurred                                          Basis for the claim:
          Last 4 digits of account number                                    Is the claim subject to offset?      No         Yes



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              Name

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

     If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                   related creditor (if any) listed?               account number, if
                                                                                                                                                   any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5.    Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                    Total of claim amounts
 5a. Total claims from Part 1                                                                         5a.       $                  3,582,206.68
 5b. Total claims from Part 2                                                                         5b.   +   $                 22,134,947.68

 5c. Total of Parts 1 and 2
        Lines 5a + 5b = 5c.                                                                           5c.       $                    25,717,154.36




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                              ADDITIONAL CREDITORS

                              A&G Coal Corporation
                              PO Box 1010 6250 Hurricane Road
                              Wise, WV 24293


                              Abba and Company


                              Action Auto Supply
                              6298 Highway 15
                              Whitesburg, KY 41858


                              Amelia Martin Adams, Esq.
                              Stoll Keenon Ogden PLLC
                              300 West Vine Street Suite 2100
                              Lexington, KY 40507


                              Angie S. Francis, et. al
                              Unknown


                              Barnwell Heirs
                              c/o Spilman Thomas &
                              Battle, PLLC 310 First
                              Street Suite 1100
                              Roanoke, VA 24002


                              Billie Barnwell
                              638 Wolfskin Road
                              Arnoldsville, GA 30619


                              Billy and Alice Black




                              Bobby J. Sr., Arnette, et
                              al. 411 North Daleville
                              Avenue Daleville, AL
                              36322


                              Burney Jr. and Jacqueline L.
                              Lewis
                              Carolyn Petry
                              1560 Hatteras Trail
                              Grayson, GA 30017


                              Charles E. and Sandra K. Shivel,
                              et al
                              PO Box 1197
                              Big Timber, MT 59011


                              Charles Henson, et al.
                              239 Long Point Drive
                              Rock Island, TN 38581
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                              Commonwealth of Kentucky
                              Transportation Cabinet
                              1231 Wilkinson Blvd
                              Frankfort, KY 40601


                              Commonwealth of Virginia
                              Dept. of Mines, Minerals and
                              Energy 900 Natural Resources
                              Drive. Charlottesville, VA
                              22903


                              Commonwealth of Virginia
                              PO Box 2448
                              Richmond, VA 23218



                              Daniel Blair


                              Darlene Hall
                              PO Box 743
                              Cumberland, KY 40823


                              Darrell Barnwell
                              5700 Bayshore Road Lot 39
                              Palmetto, FL 34221


                              Dart Keith and Melissa Mitchell,
                              et al.
                              864 Surratt Road
                              Denton, NC 27239


                              Double R Trucking Company, Inc.
                              10136 Jefferson Road
                              Coeburn, VA 24230


                              East Kentucky Network, LLC
                              Land One Alpha Place PO Box
                              16429
                              Bristol, VA 24202


                              Frances G. Fields
                              PO Box 265
                              Cumberland, KY 40823


                              Geraldine Kelly & Ralph H. Kent


                              Glen Strickland
                              Robert Strickland


                              Gregory D. Pavey, Esq.
                              Gregory D. Pavey
                              Stoll Keenon Ogden PLLC 300
                              West Vine Street Suite 2100
                              Lexington, KY 40507
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                              Harold D. Kelly, Sr.
                              Gladys Kelly
                              Stella L. Kelly Betty Jo Kelly


                              Henry Kelly



                              Huff Settlement Church
                              35 Sizemore Street
                              Closplint, KY 40927


                              Interstate Railroad Company


                              John E. Mitchell, Esq.
                              Katten Muchin Rosenman LLP
                              2121 North Pearl Street, Suite
                              1100
                              Dallas, TX 75201


                              Jonathan D. Hedden, et al.
                              970 S. Portland Avenue
                              Gilbert, AZ 85296-8920


                              Jones Oil Company, Inc.
                              PO Box 3427
                              Pikeville, KY 41502



                               KJ Trucking & Rock Dust
                               2901 HWY 186
                               Middlesboro, KY 40965


                               Lewis Burney Jr & Jacqueline
                               L., et al
                               3216 Benefit Road
                               Chesapeake, VA 23322


                               Misty M. Thomas & Toby L. Clark


                               Murl and Virginia M. Thomas


                               Old Virginia Services, LLC
                               15247 Whispering Wind Circle
                               Montpelier, VA 23192



                              Phoenix First Response
                              25 Allegheny Square
                              Glassport, PA 15045


                              Resource Development
                              7 Sheridan Square Suite 400
                              Kingsport, TN 37660
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                              Robert E. Hall, et al.
                              817 Yellowstone Road
                              Valparasio 46386

                              Seaside Holdings, Inc.
                              352 Sunnybrook Lane
                              El Cajon, CA 92021


                              Stephanie McCarthy
                              1660 Eden Ave.
                              Bogart, GA 30622


                              Tammy and Rick McQueen
                              508 Creech Avenue
                              Cumberland, KY 40823



                              Wyvonne Fields


                              Yvonne Deal, et al.
                              PO Box 316
                              Cumberland, KY 40823
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the:            Eastern District of Kentucky

 Case number (if known)         23-70113-grs
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
          No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.1.        State what the contract or                   Landowner and
             lease is for and the nature of               wheelage rights
             the debtor's interest

                 State the term remaining
                                                                                       Eversole Heirs
             List the contract number of any                                           PO Box 747
                   government contract                                                 Harlan, KY 40831


 2.2.        State what the contract or                   Landowner and
             lease is for and the nature of               wheelage rights
             the debtor's interest

                 State the term remaining
                                                                                       Margaret Eversole Edwards
             List the contract number of any                                           1620 Travler Road
                   government contract                                                 Lexington, KY 40504


 2.3.        State what the contract or                   Landowner and
             lease is for and the nature of               wheelage rights
             the debtor's interest

                 State the term remaining                                              Kentucky River Properties LLC
                                                                                       360 E. Vine Street
             List the contract number of any                                           Suite 310
                   government contract                                                 Lexington, KY 40507


 2.4.        State what the contract or                   Landowner
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       NRP Coal Mining
             List the contract number of any                                           5260 Irwin Road
                   government contract                                                 Huntington, WV 25705




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 Debtor 1 INMET Mining, LLC                                                                  Case number (if known)   23-70113-grs
              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.5.        State what the contract or                   Landowner
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                            Penn Virginia Operating Co., LLC
                                                                                     Seven Sheridan Square
             List the contract number of any                                         Suite 400
                   government contract                                               Kingsport, TN 37660


 2.6.        State what the contract or                   Wheelage rights
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     Stephanie McCarthy
             List the contract number of any                                         1660 Eden Ave.
                   government contract                                               Bogart, GA 30622


 2.7.        State what the contract or                   Wheelage rights
             lease is for and the nature of
             the debtor's interest
                                                                                     Barnwell Heirs
                 State the term remaining                                            c/o Spilman Thomas & Battle, PLLC
                                                                                     310 First Street
             List the contract number of any                                         Suite 1100
                   government contract                                               Roanoke, VA 24002


 2.8.        State what the contract or                   Wheelage rights
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                     Billie Barnwell
             List the contract number of any                                         638 Wolfskin Road
                   government contract                                               Arnoldsville, GA 30619


 2.9.        State what the contract or                   Wheelage rights
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                            Darrell Barnwell
                                                                                     5700 Bayshore Road
             List the contract number of any                                         Lot 39
                   government contract                                               Palmetto, FL 34221




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              First Name              Middle Name                    Last Name


            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.10.       State what the contract or
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Carolyn Petry
             List the contract number of any                                           1560 Hatteras Trail
                   government contract                                                 Grayson, GA 30017


 2.11.       State what the contract or                   Coal lease 11/16/1988
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Angie S. Francis, et. al
             List the contract number of any                                           Unknown
                   government contract


 2.12.       State what the contract or                   Coal leases 4/27/1994,
             lease is for and the nature of               2/1/2003, 9/24/2008
             the debtor's interest

                 State the term remaining                                              Pardee Minerals, LLC
                                                                                       1500 Chestnut Street
             List the contract number of any                                           Suite 2 #1950
                   government contract                                                 Philadelphia, PA 19102


 2.13.       State what the contract or                   Surface lease 6/1/1995
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Seaside Holdings, Inc.
             List the contract number of any                                           352 Sunnybrook Lane
                   government contract                                                 El Cajon, CA 92021


 2.14.       State what the contract or                   Coal leases 4/29/1996,
             lease is for and the nature of               4/26/1996, 4/30/1996,
             the debtor's interest                        11/21/1996, 11/21/1996

                 State the term remaining

             List the contract number of any                                           Daniel Blair
                   government contract




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.15.       State what the contract or                   Coal lease 4/29/1996
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                         Billy and Alice Black
                   government contract


 2.16.       State what the contract or                   Coal lease 5/28/1996
             lease is for and the nature of
             the debtor's interest
                                                                                     Harold D. Kelly, Sr.
                 State the term remaining                                            Gladys Kelly
                                                                                     Stella L. Kelly
             List the contract number of any                                         Betty Jo Kelly
                   government contract


 2.17.       State what the contract or                   Coal lease 7/11/1996
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                         Henry Kelly
                   government contract


 2.18.       State what the contract or                   Coal lease 7/18/1996
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                         Geraldine Kelly & Ralph H. Kent
                   government contract


 2.19.       State what the contract or                   Coal lease 10/9/1997
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                         Murl and Virginia M. Thomas
                   government contract




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.20.       State what the contract or                   Coal lease 6/26/1997,
             lease is for and the nature of               6/26/1997
             the debtor's interest

                 State the term remaining

             List the contract number of any                                          Misty M. Thomas & Toby L. Clark
                   government contract


 2.21.       State what the contract or                   Coal lease 11/11/2004
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Tammy and Rick McQueen
             List the contract number of any                                          508 Creech Avenue
                   government contract                                                Cumberland, KY 40823


 2.22.       State what the contract or                   Coal lease 11/11/2004
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                      Frances G. Fields
             List the contract number of any                                          PO Box 265
                   government contract                                                Cumberland, KY 40823


 2.23.       State what the contract or                   Sublease (out) 3/1/2005
             lease is for and the nature of
             the debtor's interest

                 State the term remaining                                             Resource Development
                                                                                      7 Sheridan Square
             List the contract number of any                                          Suite 400
                   government contract                                                Kingsport, TN 37660


 2.24.       State what the contract or                   Surface lease (out)
             lease is for and the nature of               8/20/2009
             the debtor's interest

                 State the term remaining
                                                                                      Huff Settlement Church
             List the contract number of any                                          35 Sizemore Street
                   government contract                                                Closplint, KY 40927




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 Debtor 1 INMET Mining, LLC                                                                    Case number (if known)   23-70113-grs
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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.25.       State what the contract or                   Office lease 1/5/2012
             lease is for and the nature of
             the debtor's interest

                 State the term remaining

             List the contract number of any                                           Wyvonne Fields
                   government contract


 2.26.       State what the contract or                   Surface lease 6/12/2002
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Glen Strickland
             List the contract number of any                                           Robert Strickland
                   government contract


 2.27.       State what the contract or                   Surface lease 5/28/2008
             lease is for and the nature of
             the debtor's interest

                 State the term remaining
                                                                                       Norfolk Southern Railway Company
             List the contract number of any                                           1200 Peachtree St NE (15th)
                   government contract                                                 Atlanta, GA 30309


 2.28.       State what the contract or                   Surface/Mineral lease
             lease is for and the nature of               5/15/2012
             the debtor's interest

                 State the term remaining
                                                                                       Lewis Burney Jr & Jacqueline L., et al
             List the contract number of any                                           3216 Benefit Road
                   government contract                                                 Chesapeake, VA 23322


 2.29.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               9/14/2011
             the debtor's interest

                 State the term remaining
                                                                                       Robert E. Hall, et al.
             List the contract number of any                                           817 Yellowstone Road
                   government contract                                                 Valparasio 46386




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.30.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               6/22/2007
             the debtor's interest

                 State the term remaining
                                                                                       Yvonne Deal, et al.
             List the contract number of any                                           PO Box 316
                   government contract                                                 Cumberland, KY 40823


 2.31.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               6/22/2007
             the debtor's interest

                 State the term remaining
                                                                                       Darlene Hall
             List the contract number of any                                           PO Box 743
                   government contract                                                 Cumberland, KY 40823


 2.32.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               11/13/2009
             the debtor's interest

                 State the term remaining
                                                                                       Charles E. and Sandra K. Shivel, et al
             List the contract number of any                                           PO Box 1197
                   government contract                                                 Big Timber, MT 59011


 2.33.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               11/15/2010
             the debtor's interest

                 State the term remaining
                                                                                       Charles Henson, et al.
             List the contract number of any                                           239 Long Point Drive
                   government contract                                                 Rock Island, TN 38581


 2.34.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               2/25/2011
             the debtor's interest

                 State the term remaining
                                                                                       Dart Keith and Melissa Mitchell, et al.
             List the contract number of any                                           864 Surratt Road
                   government contract                                                 Denton, NC 27239




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.35.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               9/14/2011
             the debtor's interest

                 State the term remaining
                                                                                       Jonathan D. Hedden, et al.
             List the contract number of any                                           970 S. Portland Avenue
                   government contract                                                 Gilbert, AZ 85296-8920


 2.36.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               6/30/2008
             the debtor's interest

                 State the term remaining
                                                                                       Bobby J. Sr., Arnette, et al.
             List the contract number of any                                           411 North Daleville Avenue
                   government contract                                                 Daleville, AL 36322


 2.37.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               4/29/2009
             the debtor's interest

                 State the term remaining                                              A&G Coal Corporation
                                                                                       PO Box 1010
             List the contract number of any                                           6250 Hurricane Road
                   government contract                                                 Wise, WV 24293


 2.38.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               1/17/2013
             the debtor's interest

                 State the term remaining                                              Windstream Kentucky East LLC
                                                                                       828 Lane Allen Road
             List the contract number of any                                           Suite 219
                   government contract                                                 Lexington, KY 40504


 2.39.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               1/1/2014
             the debtor's interest

                 State the term remaining
                                                                                       Old Virginia Services, LLC
             List the contract number of any                                           15247 Whispering Wind Circle
                   government contract                                                 Montpelier, VA 23192




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.40.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               10/2/2013
             the debtor's interest

                 State the term remaining

             List the contract number of any                                           Burney Jr. and Jacqueline L. Lewis
                   government contract


 2.41.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               12/13/2012, 12/31/2012
             the debtor's interest

                 State the term remaining                                              Commonwealth of Kentucky
                                                                                       Transportation Cabinet
             List the contract number of any                                           1231 Wilkinson Blvd
                   government contract                                                 Frankfort, KY 40601


 2.42.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               7/15/2015
             the debtor's interest

                 State the term remaining                                              East Kentucky Network, LLC
                                                                                       Land One Alpha Place
             List the contract number of any                                           PO Box 16429
                   government contract                                                 Bristol, VA 24202


 2.43.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               8/29/2001, 9/30/2007
             the debtor's interest

                 State the term remaining

             List the contract number of any                                           Interstate Railroad Company
                   government contract


 2.44.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               6/24/2013
             the debtor's interest

                 State the term remaining                                              Commonwealth of Virginia
                                                                                       Dept. of Mines, Minerals and Energy
             List the contract number of any                                           900 Natural Resources Drive.
                   government contract                                                 Charlottesville, VA 22903




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                        State the name and mailing address for all other parties with
                                                                                   whom the debtor has an executory contract or unexpired
                                                                                   lease

 2.45.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               9/16/2013
             the debtor's interest

                 State the term remaining
                                                                                       Commonwealth of Virginia
             List the contract number of any                                           PO Box 2448
                   government contract                                                 Richmond, VA 23218


 2.46.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               1/24/2013
             the debtor's interest

                 State the term remaining                                              VA Dept. of Mines, Minerals & Energy
                                                                                       Division of Mined Land Reclamation
             List the contract number of any                                           3405 Mountain Empire Rd.
                   government contract                                                 Big Stone Gap, VA 24219


 2.47.       State what the contract or                   Surface/ Mineral lease
             lease is for and the nature of               6/21/2012
             the debtor's interest

                 State the term remaining

             List the contract number of any                                           Abba and Company
                   government contract


 2.48.       State what the contract or                   Employment
             lease is for and the nature of               agreemnet
             the debtor's interest

                 State the term remaining                 9 months
                                                                                       Jeff Strobel
             List the contract number of any                                           17688 West Hampton Woods Drive
                   government contract                                                 Wildwood, MO 63005


 2.49.       State what the contract or                   Consolidated Coal
             lease is for and the nature of               Lease dated September
             the debtor's interest                        1, 2019 - Norton and
                                                          Letcher Counties
                                                          Kentucky and Lee and
                                                          Wise Counties,
                                                          Virginia; including
                                                          amendments and MOU
                 State the term remaining                                              Penn Virginia Operating Co., LLC
                                                                                       Seven Sheridan Square
             List the contract number of any                                           Suite 400
                   government contract                                                 Kingsport, TN 37660




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            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                       State the name and mailing address for all other parties with
                                                                                  whom the debtor has an executory contract or unexpired
                                                                                  lease

 2.50.       State what the contract or                   Coal Facility Lease and
             lease is for and the nature of               Operating Agreement
             the debtor's interest                        dated September 1,
                                                          2019 - Wise County and
                                                          Pigeon Creek,
                                                          including amendment
                                                          and MOU
                 State the term remaining                                             Penn Virginia Operating Co., LLC
                                                                                      Seven Sheridan Square
             List the contract number of any                                          Suite 400
                   government contract                                                Kingsport, TN 37660


 2.51.       State what the contract or                   10/1/2021 Coal Mining
             lease is for and the nature of               Lease (lease 8222)
             the debtor's interest

                 State the term remaining
                                                                                      ACIN LLC/ Natural Resource Partners
             List the contract number of any                                          5260 Irwin Rd.
                   government contract                                                Huntington, WV 25705


 2.52.       State what the contract or                   4 leases relating to
             lease is for and the nature of               Pigeon Creek
             the debtor's interest

                 State the term remaining

             List the contract number of any                                          ACIN LLC/ Natural Resource Partners
                   government contract


 2.53.       State what the contract or                   Master Coal Purchase
             lease is for and the nature of               and Sale Agreements
             the debtor's interest                        with amendments

                 State the term remaining

             List the contract number of any                                          Black Mountain Marketing & Sales
                   government contract


 2.54.       State what the contract or                   Coal Marketing
             lease is for and the nature of               Agreement and
             the debtor's interest                        amendments

                 State the term remaining

             List the contract number of any                                          Black Mountain Marketing & Sales
                   government contract




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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the:            Eastern District of Kentucky

 Case number (if known)         23-70113-grs
                                                                                                                               Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                      12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor


               Name                            Mailing Address                                    Name                          Check all schedules
                                                                                                                                that apply:
             Industrial                        144 E Market Place Blvd.                           Caterpillar Finance               D   2.4
    2.55     Minerals Group,                   Knoxville, TN 37922                                                                  E/F
             LLC                                                                                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         INMET Mining, LLC

 United States Bankruptcy Court for the:            Eastern District of Kentucky

 Case number (if known)         23-70113-grs
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                 04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                  Gross revenue
       which may be a calendar year                                                            Check all that apply                (before deductions and
                                                                                                                                   exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                   $58,570,577.16
       From 01/01/2023 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                  $167,090,101.00
       From 01/01/2022 to 12/31/2022
                                                                                                   Other


       For year before that:                                                                       Operating a business                   $54,130,104.00
       From 01/01/2021 to 12/31/2021
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue   Gross revenue from
                                                                                                                                   each source
                                                                                                                                   (before deductions and
                                                                                                                                   exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                             page 1

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 Debtor       INMET Mining, LLC                                                                         Case number (if known) 23-70113-grs




          None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.                                                                                                                      Secured debt
               Action Auto Supply                                          3/29/2023                          $7,704.65
               6298 Highway 15                                                                                                   Unsecured loan repayments
               Whitesburg, KY 41858                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.2.                                                                                                                      Secured debt
               Alliance Service, Inc.                                      3/29/2023                        $99,507.96
               1717 South Boulder Ave.                                                                                           Unsecured loan repayments
               Suite 400                                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Tulsa, OK 74119
                                                                                                                                 Other

       3.3.                                                                                                                      Secured debt
               American Mine Power, Inc.                                   3/29/2023                        $49,470.00
               PO Box 1602                                                                                                       Unsecured loan repayments
               Crab Orchard, WV 25827                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.4.                                                                                                                      Secured debt
               ARAMARK                                                     3/29/2023                          $7,643.80
               PO Box 731676                                                                                                     Unsecured loan repayments
               Dallas, TX 75373                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.5.                                                                                                                      Secured debt
               Boyd Cat                                                    3/29/2023                        $95,843.50
               2200 South Kentucky Avenue                                                                                        Unsecured loan repayments
               Corbin, KY 40701                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.6.                                                                                                                      Secured debt
               BreakThru Construction Co., Inc.                            3/29/2023                        $21,820.00
               PO Box 108                                                                                                        Unsecured loan repayments
               Appalachia, VA 24216                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.7.                                                                                                                      Secured debt
               Brooks Tire Service                                         3/29/2023                        $78,399.63
               PO Box 96                                                                                                         Unsecured loan repayments
               Fourmile, KY 40939                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.8.                                                                                                                      Secured debt
               Buchanan Pump Serivce                                       3/29/2023                        $53,657.65
               PO Box 827                                                                                                        Unsecured loan repayments
               Pound, VA 24279                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.9.                                                                                                                      Secured debt
               Carter Machine Company, Inc.                                3/29/2023                        $54,067.01
               PO Box 751053                                                                                                     Unsecured loan repayments
               Charlotte, NC 28275-1053                                                                                          Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.10                                                                                                                      Secured debt
       .
            Caterpillar Finance                                            3/29/2023                        $73,555.51
               2120 West End Avenue                                                                                              Unsecured loan repayments
               Nashville, TN 37203                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.11                                                                                                                      Secured debt
       .
            Combs Equipment Group, LLC                                     3/29/2023                       $575,598.35
               PO Box 573                                                                                                        Unsecured loan repayments
               Pineville, KY 40977                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.12                                                                                                                      Secured debt
       .
            Conn-Weld Industries, Inc.                                     3/29/2023                        $31,177.78
               PO Box 5329                                                                                                       Unsecured loan repayments
               Princeton, WV 24740-5329                                                                                          Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.13                                                                                                                      Secured debt
       .
            Cumberland Mine Service, Inc.                                  3/29/2023                        $16,998.00
               PO Box 394                                                                                                        Unsecured loan repayments
               Cumberland, KY 40823                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.14                                                                                                                      Secured debt
       .
            Cumberland Surety, Inc.                                        3/29/2023                       $105,000.00
               200 N. Upper Street                                                                                               Unsecured loan repayments
               Lexington, KY 40507                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.15                                                                                                                      Secured debt
       .
            Damon Williams Trucking, Inc.                                  3/29/2023                       $136,800.34
               PO Box 518                                                                                                        Unsecured loan repayments
               Grays Knob, KY 40829                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.16                                                                                                                      Secured debt
       .
            Dean Knuckles Enterprises, Inc.                                3/29/2023                       $135,540.00
               PO Box 532                                                                                                        Unsecured loan repayments
               Pineville, KY 40977                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.17                                                                                                                      Secured debt
       .
            Dynatech Electronics, Inc.                                     3/29/2023                        $56,136.33
               PO Box 884                                                                                                        Unsecured loan repayments
               Harlan, KY 40831                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.18                                                                                                                      Secured debt
       .
            EZ Haul, Inc.                                                  3/29/2023                        $24,800.00
               8133 US HWY 23 South                                                                                              Unsecured loan repayments
               Pikeville, KY 41501                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.19                                                                                                                      Secured debt
       .
            GardaWorld Security Services                                   3/29/2023                        $70,072.22
               PO Box 843886                                                                                                     Unsecured loan repayments
               Kansas City, MO 64184                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.20                                                                                                                      Secured debt
       .
            General Engineering Company                                    3/29/2023                        $98,832.99
               26485 Hillman HWY                                                                                                 Unsecured loan repayments
               Abingdon, VA 24212                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.21                                                                                                                      Secured debt
       .
            Gibson Welding & Machinery Inc.                                3/29/2023                          $8,808.85
               7936 Carter Branch Road                                                                                           Unsecured loan repayments
               Wise, VA 24293                                                                                                    Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.22                                                                                                                      Secured debt
       .
            Holland & Knight                                               3/29/2023                        $52,657.50
               10 St. James Ave.                                                                                                 Unsecured loan repayments
               Boston, MA 02116                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.23                                                                                                                      Secured debt
       .
            Holston Gases                                                  3/29/2023                        $27,796.01
               1854 N Hwy 25 W                                                                                                   Unsecured loan repayments
               Williamsburg, KY 40769                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.24                                                                                                                      Secured debt
       .
            Jones Oil Company, Inc.                                        3/29/2023                       $303,961.49
               PO Box 3427                                                                                                       Unsecured loan repayments
               Pikeville, KY 41502                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other Returned $209,000
                                                                                                                               when received notice of the
                                                                                                                               petition

       3.25                                                                                                                      Secured debt
       .
            JOY GLOBAL                                                     3/29/2023                       $334,795.83
               Mining Machinery Division                                                                                         Unsecured loan repayments
               PO Box 504794                                                                                                     Suppliers or vendors
                                                                                                                                 Services
               Saint Louis, MO 63150-4797
                                                                                                                                 Other

       3.26                                                                                                                      Secured debt
       .
            Kanawha Scales and Systems Inc.                                3/29/2023                          $8,009.13
               PO box 569                                                                                                        Unsecured loan repayments
               Poca, WV 25159                                                                                                    Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.27                                                                                                                      Secured debt
       .
            Kentucky Mine Supply Company                                   3/29/2023                        $48,004.68
               PO Box 779                                                                                                        Unsecured loan repayments
               Harlan, KY 40831                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.28                                                                                                                      Secured debt
       .
            Kentucky Utilities Co.                                         3/29/2023                       $464,896.52
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.29                                                                                                                      Secured debt
       .
            KJ Trucking & Rock Dust                                        3/29/2023                        $43,617.00
               2901 HWY 186                                                                                                      Unsecured loan repayments
               Middlesboro, KY 40965                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.30                                                                                                                      Secured debt
       .
            LM Wright Trucking, Inc.                                       3/29/2023                       $701,429.15
               PO Box 159                                                                                                        Unsecured loan repayments
               Isom, KY 41824                                                                                                    Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.31                                                                                                                      Secured debt
       .
            Maggard Sales and Service                                      3/29/2023                        $40,180.45
               7915 South Fork Road                                                                                              Unsecured loan repayments
               Pound, VA 24279                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.32                                                                                                                      Secured debt
       .
            McClung Logan Equipment Co., Inc.                              3/29/2023                        $30,337.80
               PO Box 1158                                                                                                       Unsecured loan repayments
               Wise, VA 24293                                                                                                    Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.33                                                                                                                      Secured debt
       .
            MetLife                                                        3/29/2023                        $22,770.15
               PO Box 783895                                                                                                     Unsecured loan repayments
               Philadelphia, PA 19178                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.34                                                                                                                      Secured debt
       .
            Mine Service Company                                           3/29/2023                       $910,902.25
               Hwy 15 South                                                                                                      Unsecured loan repayments
               PO Box 858                                                                                                        Suppliers or vendors
                                                                                                                                 Services
               Hazard, KY 41702
                                                                                                                                 Other

       3.35                                                                                                                      Secured debt
       .
            Mountain Construction Co.                                      3/29/2023                       $137,800.00
               PO Box 269                                                                                                        Unsecured loan repayments
               Grays Knob, KY 40829                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.36                                                                                                                      Secured debt
       .
            Obadiah Contracting & Excavation,                              3/29/2023                        $50,000.00
               LLC                                                                                                               Unsecured loan repayments
               459 Raleigh Drive                                                                                                 Suppliers or vendors
                                                                                                                                 Services
               Partridge, KY 40862
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.37                                                                                                                      Secured debt
       .
            Phillip S Hall Company, LLC                                    3/29/2023                        $27,340.00
               1555 Right Fork Maces Creek Road                                                                                  Unsecured loan repayments
               Viper, KY 41774                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.38                                                                                                                      Secured debt
       .
            Pinnacle Bank                                                  3/29/2023                        $56,079.78
               1111 Northshore Drive                                                                                             Unsecured loan repayments
               Knoxville, TN 37919                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.39                                                                                                                      Secured debt
       .
            QUALITY MAGNETITE, LLC                                         3/29/2023                        $52,866.74
               PO BOx 671413                                                                                                     Unsecured loan repayments
               Dallas, TX 75267-1413                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.40                                                                                                                      Secured debt
       .
            Richwood Industries, Inc.                                      3/29/2023                        $12,389.00
               707 7th Street West                                                                                               Unsecured loan repayments
               PO Box 1298                                                                                                       Suppliers or vendors
                                                                                                                                 Services
               Huntington, WV 25714-1298
                                                                                                                                 Other

       3.41                                                                                                                      Secured debt
       .
            S & S Service Inc.                                             3/29/2023                       $234,827.61
               PO Box R                                                                                                          Unsecured loan repayments
               Cumberland, KY 40823                                                                                              Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.42                                                                                                                      Secured debt
       .
            SGS North America Inc.                                         3/29/2023                        $12,867.74
               248 Harrogate Industrial Drive                                                                                    Unsecured loan repayments
               Harrogate, TN 37752                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.43                                                                                                                      Secured debt
       .
            Shaw Heavy Equipment                                           3/29/2023                        $94,186.57
               404 East Fourth Street                                                                                            Unsecured loan repayments
               Sparta, IL 62286                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.44                                                                                                                      Secured debt
       .
            Strata Safety Products, LLC                                    3/29/2023                        $22,896.26
               8995 Rosewell Road                                                                                                Unsecured loan repayments
               Suite 200                                                                                                         Suppliers or vendors
                                                                                                                                 Services
               Atlanta, GA 30350
                                                                                                                                 Other

       3.45                                                                                                                      Secured debt
       .
            United Central Industrial Supply Co,                           3/29/2023                        $26,011.61
               LLC                                                                                                               Unsecured loan repayments
               PO Box 743849                                                                                                     Suppliers or vendors
                                                                                                                                 Services
               Atlanta, GA 30374-3849
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.46                                                                                                                      Secured debt
       .
            United Industrial Services, Inc.                               3/29/2023                        $20,650.00
               PO Box D                                                                                                          Unsecured loan repayments
               101 Spruce Street                                                                                                 Suppliers or vendors
                                                                                                                                 Services
               Rich Creek, VA 24147
                                                                                                                                 Other

       3.47                                                                                                                      Secured debt
       .
            VA DMMA                                                        3/29/2023                          $7,680.00
                                                                                                                                 Unsecured loan repayments
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.48                                                                                                                      Secured debt
       .
            Valley Mine Service, Inc.                                      3/29/2023                        $34,346.79
               PO Box 57                                                                                                         Unsecured loan repayments
               Speedwell, TN 37870                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.49                                                                                                                      Secured debt
       .
            Woodway Stone Company                                          3/29/2023                        $22,420.00
               PO Box 307                                                                                                        Unsecured loan repayments
               Pennington Gap, VA 24277                                                                                          Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.50                                                                                                                      Secured debt
       .
            Hinkle Lumber                                                                                   $15,000.00
               PO Box 471                                                                                                        Unsecured loan repayments
               Warfield, KY 41267                                                                                                Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.51                                                                                                                      Secured debt
       .
            Dillion Block                                                  3/29/2023                        $10,000.00
               PO Box 160                                                                                                        Unsecured loan repayments
               Swords Creek, VA 24649                                                                                            Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.52                                                                                                                      Secured debt
       .
            KY Gem , Inc.                                                  3/29/2023                       $125,000.00
               PO Box 517                                                                                                        Unsecured loan repayments
               Middlesboro, KY 40965                                                                                             Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.53                                                                                                                      Secured debt
       .
            Hills Fuel Trucking, Inc.                                      3/29/2023                       $160,000.00
               PO Box 148                                                                                                        Unsecured loan repayments
               Fries, VA 24330                                                                                                   Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other

       3.54                                                                                                                      Secured debt
       .
            Belt Tech Inc.                                                 3/29/2023                        $40,000.00
               PO Box 608                                                                                                        Unsecured loan repayments
               Bluefield, VA 24605                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.55                                                                                                                           Secured debt
       .
            SNF Mining, Inc.                                               3/29/2023                        $25,000.00
               PO Box 405655                                                                                                          Unsecured loan repayments
               Atlanta, GA 30384                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other

       3.56                                                                                                                           Secured debt
       .
            Stray Bullet Transportation, LLC                               3/29/2023                        $10,000.00
                                                                                                                                      Unsecured loan repayments
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Hunter Hobson                                               Various                       $1,037,761.48           Mr. Hobson stated were for
               3271 Lakeside Drive                                         dates                                                 personal legal fees/bonuses
               Lenoir City, TN 37772
               Former CEO

       4.2.    Hunter Hobson                                               Various                          $96,481.69           Personal charges on company
               3271 Lakeside Drive                                         dates                                                 credit card
               Lenoir City, TN 37772
               Former CEO

       4.3.    Kopper Glo Mining                                           Various                       $1,043,950.11           Payments for business
               144 E Market Place Blvd.                                    dates                                                 expenses and services
               Knoxville, TN 37922
               Affiliate

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold
   at a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                              Describe of the Property                                       Date                  Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                 Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.


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           None.

               Case title                                       Nature of case               Court or agency's name and                Status of case
               Case number                                                                   address
       7.1.    IRS Audit                                        Audit related to                                                           Pending
               None                                             black lung                                                                 On appeal
                                                                payments                                                                   Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:       Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                Dates given                                Value


 Part 5:       Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                 Dates of loss              Value of property
       how the loss occurred                                                                                                                                     lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:       Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred           Dates                    Total amount or
                the transfer?                                                                                                                                    value
                Address
       11.1.    Steptoe & Johnson PLLC
                PO Box 1588707 Virginia St E
                Charleston, WV 25301                                                                                           3/30/2023                  $250,000.00

                Email or website address


                Who made the payment, if not debtor?




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                Who was paid or who received                         If not money, describe any property transferred           Dates            Total amount or
                the transfer?                                                                                                                            value
                Address
       11.2.    Ashby & Geddes, P.A.
                500 Delaware Ave # 8
                Wilmington, DE 19801                                                                                           3/30/2023            $10,619.00

                Email or website address


                Who made the payment, if not debtor?




       11.3.    Sullivan Hazeltine Allinson
                LLC
                919 N Market St.
                Suite 420
                Wilmington, DE 19801                                                                                           3/22/2023            $35,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                 Dates transfers          Total amount or
                                                                                                                       were made                         value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                           Description of property transferred or                   Date transfer          Total amount or
               Address                                          payments received or debts paid in exchange              was made                        value
       13.1 Blackfuel Energy LLC
       .    3649 Waterside Way
               Louisville, TN 37777                             Cash payment                                             3/10/2023                $308,000.00

               Relationship to debtor
               Consultant


  Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                                    Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

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15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.

                Facility name and address                       Nature of the business operation, including type of services            If debtor provides
                                                                the debtor provides                                                     meals and housing,
                                                                                                                                        number of patients in
                                                                                                                                        debtor’s care

 Part 9:      Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                       Yes. Fill in below:

 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                   Last 4 digits of          Type of account or           Date account was             Last balance
               Address                                          account number            instrument                   closed, sold,            before closing or
                                                                                                                       moved, or                         transfer
                                                                                                                       transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents            Does debtor
                                                                      access to it                                                               still have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own




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21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None

       Owner's name and address                                       Location of the property            Describe the property                           Value
       United Industrial Services, Inc.                               Deep Mine operations                Parts for consignment                 $100,000.00
       PO Box D                                                                                           purposes
       101 Spruce Street
       Rich Creek, VA 24147

       Owner's name and address                                       Location of the property            Describe the property                           Value
       SNF Mining Inc.                                                Preparation plants                  Chemicals for consignment               $30,000.00
       PO Box 405655                                                                                      purposes
        Atlanta, g 40565

       Owner's name and address                                       Location of the property            Describe the property                           Value
       4th Gen Fuels                                                  Preparation plants                  3rd party coal for processing             Unknown
       PO Box 298
       Grays Knob, KY 40829

       Owner's name and address                                       Location of the property            Describe the property                           Value
       JW Construction                                                Preparation plants                  3rd party coal for processing             Unknown
       PO Box 2470
       Wise, VA 24293


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                  Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known     Date of notice
                                                                      address
       Wax Seam                                                       Kentucky Energy and                     NNC #23-8467                    2/22/2023
       25971 Kentucky Highway 38                                      Environment Cabinet
       Holmes Mill, KY 40843                                          Department of Natural
                                                                      Resources
                                                                      300 Sower Blvd.
                                                                      Frankfort, KY 40601


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       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address
       Orchard Br.                                                    Kentucky Energy and                     NNC #23-8364                              4/6/2023
       24160 N. US Highway 119                                        Environment Cabinet
       Cumberland, KY 40823                                           Department of Natural
                                                                      Resources
                                                                      300 Sower Blvd.
                                                                      Frankfort, KY 40601


24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed
    25.1.    Industrial Mineral Group, LLC                    Parent Company                                   EIN:         XX-XXXXXXX
             144 E Market Place Blvd
             Knoxville, TN 37922                                                                               From-To      5/22/2018-Present


26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Jason Prater                                                                                                               2019-Present
                    1834 Beechwood Court
                    Alcoa, TN 37701
       26a.2.       Anna Love                                                                                                                  4/27/2020-1/31/2022
                    801 Cranfield Lane
                    Lenoir City, TN 37772
       26a.3.       Brad White                                                                                                                 10/18/2021-5/13/2022
                    1212 Hoss Road
                    Powell, TN 37849
       26a.4.       Susan Massaro                                                                                                              6/13/2022-10/18/2022
                    807 Galloway Drive
                    Johnson City, TN 37601
       26a.5.       Robin McCarter                                                                                                             2019-Present
                    6536 Red Ashe Road
                    Knoxville, TN 37918
       26a.6.       Jerri Woodard                                                                                                              12/2022-Present
                    805 W. Broadway Street
                    Lenoir City, TN 37771

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
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          within 2 years before filing this case.

                None

       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.1.       Coulter & Justus PC                                                                                                  2019-Present
                    9717 Cogdill Road
                    Knoxville, TN 37932
       Name and address                                                                                                                  Date of service
                                                                                                                                         From-To
       26b.2.       Kruggel Lawton CPA                                                                                                   2022-Present
                    317 W. Franklin St.
                    Elkhart, IN 46516

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

                None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       INMET Mining LLC
                    144 E Market Place Blvd.
                    Knoxville, TN 37922

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

                None

       Name and address
       26d.1.       Pinnacle Bank
                    1111 Northshore Drive
                    Knoxville, TN 37919
       26d.2.       Caterpillar Financial
                    PO Box 730681
                    Dallas, TX 75373
       26d.3.       Indemnity National Insurance Company
                    200 N. Upper Street
                    Lexington, KY 40507

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                          Date of inventory       The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                          Address                                              Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jerrod Freund                                                                                      Sole manager of Industrial            0
                                                                                                          Minerals Group




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       Name                                          Address                                              Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Jeff Strobel                                  17688 West Hampton Woods Drive                       Chief Restructuring Officer -        0
                                                     Wildwood, MO 63005                                   Sole manager of INMET
                                                                                                          Mining LLC
       Name                                          Address                                              Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Jason Prater                                  1834 Beechwood Court                                 Vice President and Controller        0
                                                     Alcoa, TN 37701

       Name                                          Address                                              Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Dennis Kostic                                 144 E Market Place Blvd.                             Chief Executive Officer              0
                                                     Knoxville, TN 37922

       Name                                          Address                                              Position and nature of any           % of interest, if
                                                                                                          interest                             any
       Industrial Minerals Group,                    144 E Market Place Blvd.                             Sole member                          100
       LLC                                           Knoxville, TN 37922



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                          Address                                              Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Hunter Hobson                                 3271 Lakeside Drive                                  President                        2019-3/31/2023
                                                     Lenoir City, TN 37772


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates             Reason for
                                                                property                                                                   providing the value
       30.1 Hunter Hobson
       .    3271 Lakeside Drive                                                                                          4/6/2022-4/5/2
               Lenoir City, TN 37772                            $642,215.25                                              023               Salary

               Relationship to debtor
               Former CEO


       30.2 Hunter Hobson
       .    3271 Lakeside Drive                                                                                                            Claimed for legal
               Lenoir City, TN 37772                            $1,037,761.48                                            Various           fees and bonuses

               Relationship to debtor
               Former CEO




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